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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )            CASE NO. 8:13CR159
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )           TENTATIVE FINDINGS
                                               )
JACQUELINE JACOBS,                             )
                                               )
              Defendant.                       )


       The Court has received the Modified Presentence Investigation Report (PSR)

regarding the defendant, Jacqueline Jacobs (Jacobs). Neither the government nor Jacobs

has filed any objections to the PSR. The Court advises the parties that these Tentative

Findings are issued with the understanding that, pursuant to United States v. Booker, 543

U.S. 220 (2005), the sentencing guidelines are advisory.

       IT IS ORDERED:

       1.     The Court’s tentative findings are that the Modified Presentence Investigation

Report is correct in all respects.

       2.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings that adheres to the requirements of ¶ 8 of the Order

on Sentencing Schedule (Filing No. 81), supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;
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      3.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      4.     If the parties require more than a half hour for sentencing, counsel must

contact Mary Beth McFarland by e-mail, Mary_Beth_McFarland@ned.uscourts.gov.

      DATED this 16th day of January, 2014.



                                       BY THE COURT:


                                       s/ Thomas D. Thalken
                                       United States Magistrate Judge




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